              IN THE UNITED STATES DISTRICT COURT
                   NORTHERN DISTRICT OF OHIO
                       WESTERN DIVISION

UNITED STATES OF                              Case no. 3:18CR387-JGC
AMERICA,
                                              Hon. James G. Carr
      Plaintiff,                              Magistrate Judge James Knepp

             v.                               DEFENDANT RICHARD
                                              ROWOLD’S POST-HEARING
RICHARD ROWOLD,                               MEMORANDUM IN SUPPORT
                                              OF MOTION TO DISMISS
      Defendant.


                             MEMORANDUM

      Defendants Richard Rowold and Steven Robison are both charged in Count

1 of the indictment with violation of 18 U.S.C. § 922(a)(6) and 18 U.S.C. § 2 (false

statement in the acquisition of a firearm).

      Defendant Rowold is charged in Count 2 of the indictment with violation of

18 U.S.C. § 922(g) (felon in possession of a firearm).

      Defendant Robison has moved to dismiss Count 1, and defendant Rowold

has moved to dismiss both Count 1 and Count 2.

      On September 26, 2019, the Court conducted a hearing on the motion to

dismiss, and ordered the parties to submit post-hearing briefing.



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      1. The procedural basis for a motion to dismiss a criminal indictment

      Criminal Rule 12(b)(1) permits a party to seek a ruling on any matter that

can be determined without trial. The Court can rule on a pre-trial motion to

dismiss if the motion raises only questions of law and does not require the trial

court to determine contested factual issues. United States v. Jones, 542 F.2d 661,

665 (6th Cir. 1976) (Trial court properly considered pretrial motion to dismiss

where “[t]he facts surrounding the alleged offense were virtually undisputed and

trial of the substantive charges would not substantially assist the Court in deciding

the legal issue raised by the motion to dismiss the indictment.”)

      2. The factual basis of the motion to dismiss is not disputed and therefore
         the motion is properly before the Court

      Both counts of the indictment have as a necessary element the existence of a

firearm. As to Count 1, the government must prove that defendants Rowold and

Robison conspired to make a false statement in the acquisition of a firearm: “It

shall be unlawful - (1) … for any person in connection with the acquisition or

attempted acquisition of any firearm ...” 18 U.S.C. 922(a)(6) (italics supplied). As

to Count 2, the government must prove that defendant Rowold, having been

convicted of a felony, possessed a firearm: “It shall be unlawful for any person -

(1) who has been convicted [of a felony] … to … possess in or affecting

commerce, any firearm …” 18 U.S.C.(g)(1) (italics supplied).



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      The indictment alleges that the firearms at issue are “50 Anderson AM-15

lower receivers.” Indictment (Doc. 7).

      Defendants contend that these so-called lower receivers do not constitute

firearms, because they do not meet the definition of a firearm set forth at 18 U.S.C.

§ 921(a)(3)(B). That subsection states that a receiver is a firearm. 27 C.F.R. §

478.11 in turn defines a receiver as a housing for four specific mechanical

components.

      The Court heard the testimony of expert witnesses for both parties.

Defendants’ witness, Daniel O’Kelly, testified that the so-called lower receivers

referred to in the indictment are capable of housing only two of the four

mechanical components listed in the regulation. The government’s expert witness,

Daniel Hoffman, did not dispute Mr. O’Kelly’s conclusion.

      Rather, the government takes the position that, despite the language of its

published regulation, the Alcohol Tobacco and Firearms bureau (‘ATF’) has

consistently treated the so-called AR-15 lower receivers as firearms for purposes

of enforcement of the various applicable gun laws, including 18 U.S.C. § 922.

      As argued infra, the question at the heart of defendants’ motion to dismiss is

whether this internal and informal treatment of so-called lower receivers by ATF

should be elevated to the force of law, or whether the countervailing C.F.R.




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subsection – a regulation created and published by ATF pursuant to its statutory

rule-making authority – should have that force of law.

      This is purely a question of law, and does not require this Court to make any

determination of disputed fact. Defendant’s motion to dismiss is therefore

properly before the Court. United States v. Jones, supra.

      3. Argument in support of dismissal

         a. The ATF’s informal treatment of so-called lower receivers has no
            bearing on the issue of whether they are firearms, where the relevant
            federal regulation provides a clear and unambiguous definition of the
            term ‘receiver’

      The government is asking this court to ignore the plain language of 27

C.F.R. § 478.11 in favor of ATF’s historical treatment of so-called lower receivers.

       But to give force of law to ATF’s informal and unpublished position –

which contradicts the agency’s own published regulation - creates an obvious due

process violation.

      The public is entitled to know what conduct is illegal and to rely on the

government’s formal pronouncement in that regard. This is a very basic tenet of

due process. Rules and laws which fail to provide sufficient notice of illegal

conduct are void for vagueness:

      To satisfy due process, “a penal statute [must] define the criminal offense [1]
      with sufficient definiteness that ordinary people can understand what
      conduct is prohibited and [2] in a manner that does not encourage arbitrary
      and discriminatory enforcement.” Kolender v. Lawson , 461 U. S. 352, 357
      (1983). The void-for-vagueness doctrine embraces these requirements.
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Skilling v. United States, 561 U.S. 358, 402-
403 (2010)

      Accepting ATF’s position in this matter – i.e., giving ATF’s informal and

internal position on AR-15 lower receivers the imprimatur of law, while ignoring

the regulation promulgated by ATF pursuant to its statutory rule-making authority

– would require this court to interpret 18 U.S.C. § 922 and 27 C.F.R. § 478.11 in a

manner which would not only “encourage arbitrary and discriminatory

enforcement.” Such an interpretation, being utterly contrary to the express

language of that statue and that regulation, would itself be arbitrary.

          b. The Department of Justice has been reluctant to advocate ATF’s
             position

      The government appears to recognize that its position is unwise. In the past

it has handled the issue raised in the instant case with great timidity. Twice the

matter has arisen in criminal prosecutions and twice the government has punted.

In United States v. Jiminez, 191 F.Supp. 3d 1038 (N.D. Cal. 2016), the Northern

District of California agreed with the defendant that a so-called AR-15 lower

receiver does not meet the definition of a receiver published at part 27 of the

C.F.R., and on that basis dismissed the indictment against Jiminez as violating his

due process right to notice.

      Not wishing to risk affirmation of this holding in the higher courts, the

government chose not to challenge the ruling, as evidenced by then-Attorney
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General Loretta Lynch’s formal notice to Congress that the government would not

appeal. See, letter from Attorney General to Speaker of the House, dated

September 8, 2016 (filed in this case by the Court, Doc. 61).

      In fact, the Attorney General’s letter succinctly recognized and described the

disconnect between ATF’s informal position and the clear import of ATF’s

published regulation.

      In the later prosecution of Joseph Roh, case number 8:14-cr-00167-JVS-1,

Southern District of California, the government again backed away rather than

advocate ATF’s informal position. Roh was charged with illegally manufacturing

and dealing in firearms in violation of § 922(a)(1)(A) by manufacturing so-called

AR-15 lower receivers. As here, a conviction would require proof that the items

were firearms. Following a bench trial Roh filed a motion for acquittal pursuant to

Crim. R. 29, arguing that the items in issue did not meet the definition of 27 C.F.R.

478.11 – the same argument advanced by defendants here.

      The district court provisionally granted the motion in a Minute Order which

this Court provided to the parties for comment, (Doc. 61). Like the Attorney

General’s letter, the Minute Order succinctly described the issue, and went on to

announce that the court would reject the government’s position and acquit Mr. Roh

on due process grounds.




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      Rather than allow the court’s tentative ruling to become final, the

government entered into a plea agreement which offered Mr. Roh a dismissal in

exchange for his completion of a diversion program. The parties filed a brief in

support of the court’s authority to accept the plea agreement. (Case no. 8:14-cr-

00167-JVS-1, Southern District of California, Doc. 153, filed June 17, 2019).

      The brief did not specify the government’s reason for dismissal, but later

media attention made clear what was between the lines: the government feared

establishing precedent. (“Federal authorities preferred to let Roh go free rather

than have the ruling become final and potentially create case law that could have a

crippling effect on the enforcement of gun laws, several sources familiar with the

matter told CNN. Each requested anonymity due to the sensitive nature of the case

and its possible implications.”) Article by Scott Glover, CNN,

https://www.cnn.com/2019/10/11/us/ar-15-guns-law-atf-invs/index.html, viewed

October 31, 2019.

          c. Policy concerns cannot validate the government’s untenable legal
             position

      The government makes much of the conundrum it faces if its published

regulation is taken for what it says. Weapons such as the AR-15 might in some

circumstances escape regulation; longstanding industry custom and usage might be

upset; etc.



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      Those are all problems for ATF to address. But by the rule of law, all roads

in the instant case lead to dismissal of the indictment.

      The logic is unassailable:

      1. The government must prove that the defendants acquired and/or

           possessed firearms, §§ 922(a)(6) and (g);

      2. Firearms include receivers, § 921(a)(3)(B);

      3. For an item to be a receiver it must be capable of housing all four of the

           mechanical components specified in 27 C.F.R. § 478.11.

      Without question, the so-called AR-15 lower receivers referenced in the

indictment do not house the four mechanical components listed in the regulation.

They are therefore not receivers. Since they are not receivers they are not firearms.

And since they are not firearms, defendant cannot be convicted of the indicted

charges.

      It is ATF’s responsibility to advance its stated policy with appropriate and

valid regulations. ATF has failed in this regard and has thus failed to lawfully

vindicate its position. This Court cannot pull a rabbit out of a hat to create the

regulation the government needs to advance this prosecution.

      The fact is, the express language of 18 U.S.C. § 921(a)(3)(B) and 27 C.F.R.

§ 478.11 are irredeemably fatal to this prosecution. The indictment should be

dismissed.


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                                          Respectfully submitted,

                                          s/ Thomas P. Kurt
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                         CERTIFICATE OF SERVICE

I hereby certify that on October 31, 2019, the foregoing Memorandum was
filed electronically. Notice of this filing will be sent by operation of the
Court’s electronic filing system to all parties indicated on the electronic filing
receipt. All other parties will be served by regular U.S. mail. Parties may
access this filing through the Court’s system.
                                          s/ Thomas P. Kurt
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